Case 2:03-CV-02965-SHI\/|-tmp Document 83 Filed 08/26/05 Page 1 of 2 Page|D 90

 

nm av__, _
IN THE UNITED sTATES DISTRICT coURT """"°'°
FoR THE wESTEl-'<N DISTRICT oF TENNESSEE _ .
wESTERN DIVISION 05 nw 26 AH 6*1¢5
ABDISITAR JAMA UU~SUSTWUBT
' W/DOFTN,MELH'B
Plaintiff,
vs. No. 03-2965-MaP

CITY OF MEMPHIS, ET AL. ,

Defendants.

 

ORDER DENYING MOTION AS MOOT

 

On January 27, 2005, defendant officers filed a motion to
join in defendant City of Memphis' motion for an extension of
time Within Which to disclose its expert witness (D.E. #46). On
February 3, 2005, Magistrate Judge Tu Pham entered an order (D.E.
#47 denying the motion. The motion to join defendant City of
Memphis’ motion is moot and is, therefore, denied.

lt is so ORDERED this zq¥{~day of August, 2005.

JAM

 

SAMUEL I'I. M.AYS, JR.
U'NITED STATES DISTRICT JUDGE

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with Rule 58 andlor 79(&) FF\CF’ on M

 

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Honorable Samuel Mays
US DISTRICT COURT

